
957 So.2d 1288 (2007)
In re Clifford L. WILLIAMS.
No. 2007-OB-1127.
Supreme Court of Louisiana.
June 13, 2007.

ORDER
On October 1, 1996, respondent was declared ineligible to practice law for failure to pay his bar dues and the disciplinary assessment. Respondent has not been reinstated to practice since that time. Nevertheless, respondent continued to practice law and handled at least seventeen civil and criminal cases during the period of his ineligibility. In 2005, the Office of Disciplinary Counsel ("ODC") filed formal charges against respondent arising out of his misconduct. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The ODC has concurred in respondent's petition.
Having considered the Petition for Voluntary Permanent Resignation from the Practice of Law filed by Clifford Lee Williams, Louisiana Bar Roll number 17398, and the concurrence thereto filed by the ODC,
IT IS ORDERED that the request of Clifford Lee Williams for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5(c) of the Rules of Professional Conduct, as amended March 24, 2004.
IT IS FURTHER ORDERED that Clifford Lee Williams shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
IT IS FURTHER ORDERED that the proceedings in 07-B-0287 be dismissed as moot.
/s/ Chet D. Traylor
Justice, Supreme Court of Louisiana
